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 8
 9
10                           UNITED STATES DISTRICT COURT
11                FOR THE EASTERN DISTRICT OF WASHINGTON
12
13
14   UNITED STATES OF AMERICA                    CASE NO. 2:18-cr-00232-TOR
15
                               Plaintiff,        United States’ Unopposed Motion to
16                                               Forfeit Bond
17                      v.
18
19   WILLIAM OLDHAM MIZE, IV,
20                             Defendant.
21
22         The United States of America, by and through Vanessa R. Waldref, United
23   States Attorney for the Eastern District of Washington, and Dan Fruchter and Jeremy
24   J. Kelley, Assistant United States Attorneys, respectfully submits the following
25   Motion to Forfeit Bond. Andrew M. Wagley, as counsel for Defendant William
26   Oldham Mize, IV, has reviewed this motion and proposed order and does not oppose
27   issuance of the proposed order.
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     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 1
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 1         I.      BACKGROUND
 2         Defendant was initially charged by the Grand Jury in December 2018 with a 101-
 3   count Indictment charging wire fraud, mail fraud, conspiracy, and money
 4   laundering. ECF No. 1. On January 9, 2019, Defendant made his initial appearance
 5   on the charges in the presence of counsel. ECF No. 78. Defendant was released on
 6   conditions and a $750,000 unsecured appearance bond, which he agreed would be
 7   forfeited if he failed (1) to appear for court proceedings; (2) to surrender to serve a
 8   sentence; or (3) to comply with all conditions set forth in the Order Setting
 9   Conditions of Release. ECF No. 86. Defendant was further informed of the
10   following information about forfeiture of the bond:
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15   Id. Defendant then signed the appearance bond, acknowledging he had reviewed

16   and agreed to the terms of the appearance bond:

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22   Id.
23              On January 9, 2019, Defendant also executed an AO 199c advise of penalties
24   and sanctions form, which further articulated that any bond would be subject to
25   forfeiture for failing to appear:
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     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 2
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 7   ECF No. 81.
 8         On January 23, 2019, the Grand Jury retuned a second Indictment separately
 9   charging Defendant with three felony counts of making and subscribing a false
10   income tax return. 2:19-CR-00021, ECF No.1. The tax fraud Indictment was later
11   consolidated with the 2018 Indictment upon Defendant’s motion. 2:19-CR-00021,
12   ECF No. 16.
13         On or about July 5, 2019, shortly before an ordered appearance at a pretrial
14   conference scheduled for July 18, 2019, Defendant absconded from supervision and
15   fled the district. See ECF No. 492. Violation petitions were filed against Defendant
16   in both cases, for which warrants were issued. Id.; 2:19-CR-00021, ECF No. 2. The
17   Grand Jury also returned two additional Indictments charging Defendant with failure
18   to appear. 2:20-CR-0144, ECF No. 2; 2:20-CR-00146, ECF No. 2. Warrants were
19   also issued in both of those cases.
20         For nearly four-and-a-half years, between July 2019 and November 2023,
21   Defendant failed to appear and evaded law enforcement. ECF No. 1015. Defendant
22   was detained and transported to the Eastern District of Washington, where the
23   United States moved for his further detention, proffering information to the Court
24   regarding Defendant’s conduct in Florida. ECF No. 1018. On January 29, 2024,
25   Defendant appeared in the Eastern District of Washington, at which point he was
26   ordered detained pending trial in these matters. ECF Nos. 1019, 1026.
27
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     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 3
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 1      II.      APPLICABLE LAW
 2            A bail bond is considered to be “a contract between the government and the
 3   defendant and his surety.” United States v. Plechner, 577 F.2d 596, 598 (9th Cir.
 4   1978) (citing United States v. Gonware, 415 F.2d 82, 83 (9th Cir. 1969)). Its purpose
 5   is to provide a disincentive for a pretrial criminal defendant to “flee or hide himself”
 6   in that is it assumed “the threat of forfeiture of one’s goods will be an effective
 7   deterrent to the temptation to break the condition of one’s release.” Bandy v. United
 8   States, 81 S. Ct. 197, 197 (1960).
 9            Under the Federal Rules of Criminal Procedure, “[t]he court must declare the
10   bail forfeited if a condition of the bond is breached.” Fed. R. Crim. P. 46(f)(1). The
11   Court does not have discretion over whether to forfeit a bond; “forfeiture is thus
12   mandatory.” United States v. Nguyen, 279 F.3d 1112, 1115 (9th Cir. 2002) (citing
13   United States v. Abernathy, 757 F.2d 1012, 1015 (9th Cir. 1985)).
14            “A declaration of forfeiture is the first of several steps leading to actual
15   forfeiture” of the bond under Rule 46. United States v. Vaccaro, 931 F.2d 605, 606
16   (9th Cir. 1991). Following a declaration of forfeiture, the Court “may set aside in
17   whole or in part a bail forfeiture upon any condition the court may impose if . . . it
18   appears that justice does not require bail forfeiture.” Fed. R. Crim. P. 46(f)(2)(B).1
19   If the court does not set aside or reduce the bail forfeiture, it “must, upon the
20   government’s motion, enter a default judgment.” Fed. R. Crim. P. 46(f)(3)(A). After
21   entering a default judgment, the court “may remit in whole or in part the judgment
22   under the same conditions specified in Rule 46(f)(2).” Fed. R. Crim. P. 46(f)(4).
23            In the Ninth Circuit, courts are guided by the following six non-exhaustive
24   factors in deciding whether or not to remit or set aside forfeiture of bail:
25          1) the defendant’s willfulness in breaching a release condition; 2) the
            sureties’ participation in apprehending the defendant; 3) the cost,
26
27   1 As there are no sureties for the appearance bond in this matter, Rule 46(f)(2)(A)
28   does not apply.

     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 4
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 1         inconvenience, and prejudice suffered by the government; 4) mitigating
           factors; 5) whether the surety is a professional or a member of the
 2         family or a friend; and 6) the appropriateness of the amount of the bond.

 3   Nguyen, 279 F.3d at 1115–16 (quoting United States v. Amwest Surety Ins. Co., 54
 4   F.3d 601, 603 (9th Cir. 1995)). The factors are non-exclusive and need not all “be
 5   resolved in the government’s favor.” Id. at 1116 (quoting United States v. Sar–Avi,
 6   255 F.3d 1163, 1167 (9th Cir. 2001)). Furthermore, “[t]he party seeking to have the
 7   court set aside or remit the forfeiture bears the burden of establishing grounds for
 8   such action.” United States v. Logan, No. 95CR1468–IEG, 2009 WL 1605326, at *1
 9   (S.D. Cal. June 5, 2009) (citing United States v. Cervantes, 672 F.2d 460, 461 (5th
10   Cir. 1982) (“The burden of establishing grounds for a set aside or remission is on the
11   party challenging the forfeiture.”)); see also United States v. Gambino, 17 F.3d 572,
12   574 (2d Cir. 1994) (“The burden of establishing grounds for remission is on the party
13   challenging the forfeiture.” (citing United States v. Egan, 394 F.2d 262, 267 (2d Cir.
14   1968))).
15         Certain factors listed above are not relevant in this matter as there were no
16   sureties for Defendant’s bond, which was also unsecured. The relevant factors,
17   however, weigh heavily in supporting forfeiture of the entire bond amount.
18         Significantly, Defendant willfully absconded from pre-trial supervision
19   despite knowing that a consequence of this action would be the forfeiture of his bond.
20   Defendant remained at large for nearly four-and-a-half years, during which time he
21   lived under an assumed identity. Shortly before he was apprehended in Florida, the
22   Defendant listed the boat he was living on for sale on Craigslist and indicated in the
23   listing that he would be leaving the state. It is clear that Defendant willfully engaged
24   in extensive efforts to evade justice and would still be at large had concerned citizens
25   not reported his location to law enforcement. This factor weighs heavily in support
26   of forfeiting the entire $750,000 bond.
27         The cost, inconvenience, and prejudice suffered by the government is
28   substantial. Resolution of this matter, by plea or trial, has been for years. In the

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 1   interim, the government has exerted significant resources in attempts to locate
 2   Defendant. At this point, the government is prejudiced by attempting to relocate and
 3   contact dozens of witnesses and co-defendants that have potentially moved multiple
 4   times. At least one co-defendant who the United States would have expected to
 5   testify at a trial has died since Defendant absconded.          It is possible that the
 6   government may not be able to locate and present testimony from other witnesses.
 7   The government is also prejudiced as witness memory and other evidence may have
 8   been impacted by the delay. The substantial cost, inconvenience, and prejudice
 9   suffered by the government in this lengthy delay also supports full forfeiture of the
10   bond.
11           The bond amount of $750,000 is appropriate to address the Defendant’s wilful
12   and prolonged violation of his release from pre-trial custody. The underlying
13   insurance fraud scheme yielded millions of dollars for Defendant and his co-
14   defendants. As alleged by the United States and agreed to by other co-defendants
15   when resolving their cases, the total loss in this matter is estimated to be
16   $5,599,026.44. Defendant himself used funds from the fraud scheme to purchase
17   real property, luxury automobiles, and boats. Given the extensive financial gains
18   Defendant made as a result of the scheme, the $750,000 bond was appropriate at the
19   time it was imposed. Even while at large, Defendant purchased and lived aboard a
20   43-foot Viking boat, which he later posted for sale for $47,500. When that boat was
21   searched, agents found more than $25,000 in cash and thousands of dollars in poker
22   chips. As such, full forfeiture of the $750,000 bond amount remains appropriate.
23           Finally, the United States has not identified any relevant mitigating
24   circumstances that would warrant setting aside or remitting any portion of the bond.
25   Defendant made no efforts to contact the Court or the return following his initial
26   flight from justice. He would, in fact, still be at large, but for notification from the
27   public. During the last four-and-a-half years, Defendant lived freely under an
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     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 6
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 1   assumed identity while all his other co-defendants were sentenced and served terms
 2   of imprisonment.
 3         Declaration of forfeiture of the bond in this matter is mandatory under Rule
 4   46(f)(1). There are no reasons to set aside the forfeiture in whole or in part under
 5   Rule 46(f)(2). The government therefore requests the Court enter a default judgment
 6   against Defendant in the amount of $750,000 under Rule 46(f)(3)(A). Finally, there
 7   are no grounds upon which to remit that judgement in whole or in part under Rule
 8   46(f)(4). As such, the government respectfully requests the Court declare the
 9   $750,000 bond forfeited and enter a default judgement against Defendant in that
10   amount. The Defendant, through his counsel, has reviewed this motion and does not
11   oppose the proposed forfeiture.
12
13         Dated this 23rd day of October, 2024.
14
15                                         Respectfully submitted,
16                                         VANESSA WALDREF
                                           United States Attorney
17
18                                         /s/ Jeremy Kelley
                                           Jeremy J. Kelley
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                                           Dan Fruchter
20                                         Assistant United States Attorney
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     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 7
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 1                             CERTIFICATE OF SERVICE
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 3         I hereby certify that on October 23rd, 2024, I electronically filed the
 4   foregoing with the Clerk of the Court using the CM/ECF system which will send
 5   notification of such filing to noticed counsel.
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 8
 9                                                     /s/ Jeremy J. Kelley
10                                                     Jeremy J. Kelley
                                                       Assistant United States Attorney
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     UNITED STATES’ UNOPPOSED MOTION TO FORFEIT BOND - 8
